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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
STEPHEN McCOLLUM, ¢? ai, §
Plaintiffs, §
§
vs. §
§ CIVIL ACTION NO. 4:14-CV-03253
§
BRAD LIVINGSTON, ¢¢ ai/., §
Defendants. §

AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

The parties stipulate to dismissal of this case pursuant to Rule 41(a)(1) of the Federal
Rules of Civil Procedure. The parties have entered a settlement in the above-styled and
numbered cause. The settlement agreement resolves ali claims and all parties in this suit.
Defendants have fulfilled their obligations under the settlement. Accordingly, Plaintiffs
dismiss all claims and parties. All parties stipulate co dismissal. In accordance with the terms
of the settlement, this dismissal is w##h prejudice.

AGREED AS TO FORM AND SUBSTANCE:

 

 

Att&mney for Plaintiffs Stephen McCollum, Sandra
McCollum, Stephanie Kingrey, individually and on
behalf of all wrongful death beneficiaries, and on
behalfjof the a te of Larry McCollum

 
 
 
 
  

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CJ and TDC individuals a

Shanna Molinare Date
Attorney for Defendants UTMB and UTMB Individuals

 
